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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF GEORGIA
                                      MACON DIVISION

UNITED STATES FOR THE USE AND                           *
BENEFIT OF METROPOWER, INC.,
                                                        *
                        Plaintiff,                            Case No. 5:18-CV-7-MTT
v.                                                      *

GSC CONSTRUCTION, INC. AND                              *
DARWIN NATIONAL ASSURANCE
COMPANY D/B/A ALLIED WORLD                              *
INSURANCE COMPANY,

                  Defendants.
___________________________________

                                          JUDGMENT

        Pursuant to this Court’s Order dated June 26, 2019 and for the reasons stated therein,

JUDGMENT is hereby entered in favor of Plaintiff in the amount of $100,377.49. The amount

shall accrue interest from the date of entry of judgment at the rate of 2.02 % per annum until paid

in full. Plaintiff shall also recover costs of this action.

        This 27th day of June, 2019.

                                                 David W. Bunt, Clerk


                                                 s/ Amy N. Stapleton, Deputy Clerk
